Case 1:19-cv-00136-JMS-RT Document 1 Filed 03/14/19 Page 1 of 16   PageID #: 1
Case 1:19-cv-00136-JMS-RT Document 1 Filed 03/14/19 Page 2 of 16   PageID #: 2
Case 1:19-cv-00136-JMS-RT Document 1 Filed 03/14/19 Page 3 of 16   PageID #: 3
Case 1:19-cv-00136-JMS-RT Document 1 Filed 03/14/19 Page 4 of 16   PageID #: 4
Case 1:19-cv-00136-JMS-RT Document 1 Filed 03/14/19 Page 5 of 16   PageID #: 5
Case 1:19-cv-00136-JMS-RT Document 1 Filed 03/14/19 Page 6 of 16   PageID #: 6
Case 1:19-cv-00136-JMS-RT Document 1 Filed 03/14/19 Page 7 of 16   PageID #: 7
Case 1:19-cv-00136-JMS-RT Document 1 Filed 03/14/19 Page 8 of 16   PageID #: 8
Case 1:19-cv-00136-JMS-RT Document 1 Filed 03/14/19 Page 9 of 16   PageID #: 9
Case 1:19-cv-00136-JMS-RT Document 1 Filed 03/14/19 Page 10 of 16   PageID #: 10
Case 1:19-cv-00136-JMS-RT Document 1 Filed 03/14/19 Page 11 of 16   PageID #: 11
Case 1:19-cv-00136-JMS-RT Document 1 Filed 03/14/19 Page 12 of 16   PageID #: 12
Case 1:19-cv-00136-JMS-RT Document 1 Filed 03/14/19 Page 13 of 16   PageID #: 13
Case 1:19-cv-00136-JMS-RT Document 1 Filed 03/14/19 Page 14 of 16   PageID #: 14
Case 1:19-cv-00136-JMS-RT Document 1 Filed 03/14/19 Page 15 of 16   PageID #: 15
Case 1:19-cv-00136-JMS-RT Document 1 Filed 03/14/19 Page 16 of 16   PageID #: 16
